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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )            8:06CR243
                       Plaintiff,                    )
                                                     )
       vs.                                           )              ORDER
                                                     )
JAMARR HOLIDAY,                                      )
                                                     )
                       Defendant.                    )




       This matter is before the court on the motion of Susan M. Bazis to allow her to withdraw as
court-appointed counsel for the defendant Jamaar Holiday [110] due to the fact that Ms. Bazis has
been appointed to the Douglas County Court Bench.


       IT IS ORDERED:


       1.     That the Motion to Withdraw [110] as court-appointed counsel is granted;


       2.     That Beau G. Finley is appointed as attorney of record for the above-named
              defendant in this matter and shall forthwith file an appearance in this matter.


       3.     Susan M. Bazis shall be deemed withdrawn as attorney of record and shall forthwith
              provide Beau G. Finley with the discovery materials provided the defendant by the
              government and such other materials obtained by Ms. Bazis which are material to the
              defendant’s defense.


       4.     That the Federal Public Defender’s Office shall forthwith provide counsel with a draft
              appointment order (CJA Form 20) bearing the name and other identifying information
              of the CJA Panel attorney identified in accordance with the Criminal Justice Act Plan
              for this district.


       DATED this 22nd day of March, 2007.


                                                     BY THE COURT:


                                                     s/ F.A. Gossett
                                                     United States Magistrate Judge
